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                            UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW HAMPSHIRE


                                               )
IN RE APPLICATION OF THE                       )
UNITED STATES OF AMERICA FOR                   )
AN ORDER AUTHORIZING THE                       )
INSTALLATION AND USE OF PEN                    )       Filed Under Seal
REGISTER AND TRAP AND                          )
TRACE DEVICES ON BLACKBERRY                    )
PIN 31C0A2F6                                   )
                                               )


                                          APPLICATION

       The United States of America, moving by and through Assistant United States Attorney

Anna Z. Krasinski, its undersigned counsel, respectfully submits under seal this ex parte

application for an order pursuant to 18 U.S.C §§ 3122 and 3123, authorizing the installation and

use of pen register and trap and trace devices (“pen-trap devices”) to capture dialing, routing,

addressing, and signaling information on electronic communications generated or received by a

BlackBerry device assigned Personal Identification Number (“PIN”) 31C0A2F6 which is

believed to be used by Manny Barroso.

       In support of this application, the United States asserts:

       1.      This is an application, made under 18 U.S.C. § 3122(a)(1), for an order under 18

U.S.C. § 3123 authorizing the installation and use of pen register and a trap and trace devices.

       2.      Such an application must include three elements: (1) “the identity of the attorney

for the Government or the State law enforcement or investigative officer making the

application”; (2) “the identity of the law enforcement agency conducting the investigation”; and

(3) “a certification by the applicant that the information likely to be obtained is relevant to an

ongoing criminal investigation being conducted by that agency.” 18 U.S.C. § 3122(b).
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       3.      The undersigned applicant is an “attorney for the government” as defined in Rule

1(b)(1) of the Federal Rules of Criminal Procedure.

       4.      The law enforcement agency conducting the investigation is the Drug

Enforcement Administration (“DEA”). The DEA is being assisted in this investigation by other

state, local, and federal investigative agencies.

       5.      The applicant hereby certifies that the information likely to be obtained by the

requested pen-trap devices is relevant to an ongoing criminal investigation of Manny Barroso,

and others that is being conducted by the DEA.

                                     ADDITIONAL INFORMATION

       6.      Other than the three elements described above, federal law does not require that

an application for an order authorizing the installation and use of a pen register and a trap and

trace device specify any facts. The following additional information is provided to demonstrate

that the order requested falls within this Court’s authority to authorize the use of a pen register or

trap and trace device under 18 U.S.C. § 3123(a)(1).

       7.      A “pen register” is “a device or process which records or decodes dialing, routing,

addressing, or signaling information transmitted by an instrument or facility from which a wire or

electronic communication is transmitted.” 18 U.S.C. § 3127(3). A “trap and trace device” is “a

device or process which captures the incoming electronic or other impulses which identify the

originating number or other dialing, routing, addressing, and signaling information reasonably

likely to identify the source of a wire or electronic communication.” 18 U.S.C. § 3127(4).




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       8.      In the traditional telephone context, pen registers captured the destination phone

numbers of outgoing calls, while trap and trace devices captured the phone numbers of incoming

calls. Similar principles apply to other kinds of wire and electronic communications, as

described below.

       9.      Blackberry Corporation (“BlackBerry”) provides electronic communication

services via BlackBerry smartphones that function using both cellular and wireless data

connections. Cellular telephone service is provided to a BlackBerry handheld device by wireless

cellular carriers, such as Verizon, Sprint, or AT&T. SMS text messaging and traditional cellular

phone voice communications are provided via a wireless cellular carrier’s network. Other

electronic communications services accessible via a BlackBerry device are transmitted via

BlackBerry’s infrastructure, including, secure wireless access to the Internet, secure PIN to PIN

communications from one BlackBerry device to another (via BlackBerry’s infrastructure and

explained below), BlackBerry Messenger Communications (a proprietary branded instant

messaging service available from BlackBerry and carried on its own infrastructure), email, and

Internet World Wide Web browsing (web browsing).

       10.     A BlackBerry user may engage in PIN-to-PIN or Peer-to-Peer communications

between BlackBerry smartphones. A PIN is a unique eight-digit alphanumeric identifier assigned

to each handheld Blackberry device. When using the PIN-to-PIN method to communicate,

instead of sending a message to an email address, the message is routed within BlackBerry’s

network infrastructure from one BlackBerry handheld device to another, bypassing the

BlackBerry Enterprise Server (“BES”) and/or BlackBerry Internet Server (“BIS”). PIN numbers

function similar to the telephone numbers of incoming and outgoing calls, because they indicate




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origin(s) and destination(s). PINs can be recorded by pen-trap devices and can be used to

identify parties to a communication without revealing the communication’s content.

       11.     BlackBerry Messenger service allows a BlackBerry user to send a message (a

“BBM message”) of unlimited length, to set up a group chat, to transfer files, and to share

contacts, videos, photos and music files with other Blackberry users. When using the BlackBerry

Messenger service to communicate, the message is routed within BlackBerry’s network

infrastructure. Unlike an e-mail message, which is stored on a network server maintained by the

provider, BBM messages are merely routed to a relay server managed by BlackBerry, which does

not store the communication, but simply routes the communication to the receiving BlackBerry

handheld device as soon as the receiver is on-line.

       12.     A BlackBerry user can access the Internet through the BlackBerry infrastructure

network, the cellular carrier associated with a particular BlackBerry device, or a WiFi access

point. A BlackBerry user can use a home wireless router, or a public wireless hotspot Internet

data connection to access the Internet through one of BlackBerry’s service offerings, such as the

BES and/or BIS. A BlackBerry customer can send and receive emails and instant messages using

BlackBerry’s Internet Service or by accessing third-party software applications, such as web-

based email services or social networking services.

       13.     An Internet email message has its own routing header, in addition to the source

and destination information associated with all Internet data packets. The message header of an

email contains the message’s source and destination(s), expressed as email addresses in “From,”

“To,” “CC” (carbon copy), or “BCC” (blind carbon copy) fields. Multiple destination addresses

may be specified in the “To,” “CC,” and “BCC” fields. The email addresses in an email’s

message header are like the telephone numbers of both incoming and outgoing calls, because


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they indicate both origin and destination(s). They can be recorded by pen-trap devices and can be

used to identify parties to a communication without revealing the communication’s contents.

       14.     A BlackBerry subscriber can add up to 10 separate Internet web-based email

account addresses to be integrated to a BlackBerry smartphone. Examples of Internet web-based

email services include Microsoft Hotmail, Yahoo! Mail, and Google Mail (Gmail). The

BlackBerry Internet Service regularly checks the integrated email account, sends the new

messages to BlackBerry’s infrastructure, and then automatically delivers the email messages to

the subscriber’s BlackBerry smartphone over the wireless network.

                                    THE RELEVANT FACTS

       15.     The United States government, including the DEA, is investigating the

distribution of oxycodone pills. The investigation relates to drug trafficking in and around

Nashua, New Hampshire. The primary individual under investigation is Manny Barroso. The

investigation concerns possible violations of, inter alia, 21 U.S.C. §§ 846, 843(b), and 841(a)(1).

       16.     The conduct being investigated involves use of the cell phone number (978) 935-

8836, which is believed to be used by Manny Barroso to distribute controlled substances.

Specifically, law enforcement has learned that Barroso uses this telephone to arrange oxycodone

distribution. BBM PIN 31C0A2F6 is associated with that telephone.

       17.     To further the investigation, investigators need to obtain the dialing, routing,

addressing, and signaling information associated with communications sent to or from that

BlackBerry device via all electronic communication services operating on the device.

       18.     The pen-trap devices sought by this application will be installed at location(s) to

be determined, and will collect dialing, routing, addressing, and signaling information associated




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with each communication to or from the subject devices, but not limited to, the date, time, and

duration of the communication, and the following, without geographic limit:

                PINs utilized to send or receive communications

                Headers of email messages, including the source and destination network

                 addresses, as well as the routes of transmission and size of the messages, but not

                 content located in headers (such as subject lines)

                The number and size of any attachments to email messages or BlackBerry

                 Messenger communications.

                                   GOVERNMENT REQUESTS

       19.       For the reasons stated above, the United States requests that the Court enter an

Order authorizing the installation and use of pen-trap devices to record, decode, and/or capture

the dialing, routing, addressing, and signaling information described above for each

communication to or from the subject devices, along with the date, time, and duration of the

communication, without geographic limit. The United States does not request and does not seek

to obtain the contents of any communications, as defined in 18 U.S.C. § 2510(8).

       20.       The United States further requests that the Court authorize the foregoing

installation and use for a period of sixty days, pursuant to 18 U.S.C. § 3123(c)(1).

       21.       The United States further requests, pursuant to 18 U.S.C. §§ 3123(b)(2) and

3124(a)-(b), that the Court order BlackBerry and any other person or entity providing wire or

electronic communication service in the United States whose assistance may facilitate execution

of this Order to furnish, upon service of the Order, information, facilities, and technical

assistance necessary to install the pen-trap devices, including installation and operation of the

pen-trap devices unobtrusively and with minimum disruption of normal service. Any entity


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providing such assistance shall be reasonably compensated by the DEA, pursuant to 18 U.S.C. §

3124(c), for reasonable expenses incurred in providing facilities and assistance in furtherance of

this Order.

       22.      The United States further requests that the Court order BlackBerry and any other

person or entity whose assistance may facilitate execution of this Order to notify the applicant

and the DEA of any changes relating to the subject devices, including changes to subscriber

information, and to provide prior notice to the applicant and the DEA before terminating or

changing service to the subject devices.

       23.      The United States further requests that the Court order that the DEA and the

applicant have access to the information collected by the pen-trap devices as soon as practicable,

twenty-four hours per day, or at such other times as may be acceptable to them, for the duration

of the Order.

       24.      The United States further requests, pursuant to 18 U.S.C. § 3123(d)(2), that the

Court order BlackBerry and any other person or entity whose assistance facilitates execution of

this Order, and their agents and employees, not to disclose in any manner, directly or indirectly,

by any action or inaction, the existence of this application and Order, the resulting pen-trap

devices, or this investigation, except as necessary to effectuate the Order, unless and until

authorized by this Court.

       25.      The United States further requests that this application and any resulting Order be

sealed until otherwise ordered by the Court, pursuant to 18 U.S.C. § 3123(d)(1).

       26.      The United States further requests that the Clerk of the Court provide the United

States Attorney’s Office with three certified copies of this application and Order, and provide

copies of this Order to the DEA and BlackBerry upon request.


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       27.     The foregoing is based on information provided to me in my official capacity by

agents and task force officers of the DEA.

       I declare under penalty of perjury that the foregoing is true and correct.


December 12, 2018                                     Respectfully submitted,

                                                      Scott W. Murray
                                                      United States Attorney


                                                      By: /s/ Anna Z. Krasinski
                                                          Anna Z. Krasinski
                                                          Assistant U.S. Attorney




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                            UNITED STATES DISTRICT COURT
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AN ORDER AUTHORIZING THE                       )
INSTALLATION AND USE OF PEN                    )       Filed Under Seal
REGISTER AND TRAP AND                          )
TRACE DEVICES ON BLACKBERRY                    )
PIN 31C0A2F6                                   )
                                               )


                                              ORDER

       Assistant United States Attorney Anna Z. Krasinski, on behalf of the United States, has

submitted an application pursuant to 18 U.S.C. §§ 3122 and 3123, requesting that the Court issue

an Order to BlackBerry Corporation (“BlackBerry”) (located at 5000 Riverside Drive, Suite

100E, Irving, Texas 75039), authorizing the installation and use of pen register and trap and trace

devices (“pen-trap devices”) on a BlackBerry device assigned PIN 31C0A2F6 which is believed

to be used by Manny Barroso.

       The Court finds that an attorney for the government has submitted the application and has

certified that the information likely to be obtained by such installation and use is relevant to an

ongoing criminal investigation that is being conducted by the Drug Enforcement Administration

(“DEA”) of individuals in connection with possible violations of 21 U.S.C. §§ 843(b) and

841(a)(1).

       IT IS THEREFORE ORDERED, pursuant to 18 U.S.C. § 3123, that pen-trap devices may

be installed and used within the United States to record, decode, and/or capture dialing, routing,

addressing, and signaling information associated with each communication to or from the subject
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devices, including, but not limited to, the date, time, and duration of the communication, and the

following, without geographic limit:

              PINs utilized to send or receive communications

              Headers of email messages, including the source and destination network

               addresses, as well as the routes of transmission and size of the messages, but not

               content located in headers (such as subject lines)

              The number and size of any attachments to email messages or Blackberry

               Messenger communications.

       IT IS FURTHER ORDERED, pursuant to 18 U.S.C. § 3123(c)(1), that the use and

installation of the foregoing is authorized for sixty (60) days from the date of this Order;

       IT IS FURTHER ORDERED, pursuant to 18 U.S.C. §§ 3123(b)(2) and 3124(a)-(b), that

the BlackBerry and any other person or entity providing wire or electronic communication

service in the United States whose assistance may, pursuant to 18 U.S.C. § 3123(a), facilitate the

execution of this Order shall, upon service of this Order, furnish information, facilities, and

technical assistance necessary to install the pen-trap devices, including installation and operation

of the pen-trap devices unobtrusively and with minimum disruption of normal service;

       IT IS FURTHER ORDERED that the DEA reasonably compensate BlackBerry and any

other person or entity whose assistance facilitates execution of this Order for reasonable expenses

incurred in complying with this Order;

       IT IS FURTHER ORDERED that BlackBerry and any other person or entity whose

assistance may facilitate execution of this Order notify the applicant and the DEA of any changes

relating to the subject devices, including changes to subscriber information, and to provide prior

notice to the DEA before terminating or changing service to the subject devices;




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         IT IS FURTHER ORDERED that the DEA and the applicant have access to the

information collected by the pen-trap devices as soon as practicable, twenty-four hours per day,

or at such other times as may be acceptable to the DEA, for the duration of the Order;

         IT IS FURTHER ORDERED, pursuant to 18 U.S.C. § 3123(d)(2), that BlackBerry and

any other person or entity whose assistance facilitates execution of this Order, and their agents

and employees, shall not disclose in any manner, directly or indirectly, by any action or inaction,

the existence of the application and this Order, the pen-trap devices, or the investigation to any

person, except as necessary to effectuate this Order, unless and until otherwise ordered by the

Court;

         IT IS FURTHER ORDERED that the Clerk of the Court shall provide the United States

Attorney’s Office with three certified copies of this application and Order, and shall provide

copies of this Order to the DEA and BlackBerry upon request; and

         IT IS FURTHER ORDERED that the application and this Order are sealed until

otherwise ordered by the Court, pursuant to 18 U.S.C. § 3123(d)(1).



__________________                                    ____________________________
Date                                                  Andrea K. Johnstone
                                                      United States District Judge




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